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11
12                      UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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14   POSTMATES INC.,                         )   Case No: 2:20-cv-02783-PSG
                                             )
15                                               DEFENDANTS’ UNOPPOSED
                  Plaintiff,                 )
                                                 MOTION TO FILE
16                                           )
                                                 DECLARATIONS AND EXHIBITS
            vs.                              )
17                                               UNDER SEAL
                                             )
18   10,356 INDIVIDUALS,                     )
                                                 [Declaration of Warren Postman,
                                             )
19                                               [Proposed] Order]
                  Defendants.                )
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                                DEFENDANTS’ MOTION TO FILE UNDER SEAL
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 1         In accordance with Civil Local Rule 79-5.2.2, Defendants file this unopposed
 2   motion to file certain exhibits and declarations under seal.
 3         1.     On May 8, 2020, Defendants informed the Court that many of them intend
 4   to file a cross-petition and motion to compel arbitration against Postmates. ECF No. 39.
 5         2.     Those Defendants intend to attach to their motion to compel exhibits and
 6   declarations that contain personal identifying information, including email addresses,
 7   phone numbers, and home addresses. Postman Decl. ¶ 3.
 8         3.     On May 21, 2020, counsel for Defendants emailed counsel for Postmates
 9   asking if Postmates would stipulate to filing those exhibits and declarations with
10   personal identifying information redacted. Id. ¶ 4. Counsel for Defendants sent counsel
11   for Postmates a draft stipulation and Exhibits A.1–A.2 and B.1–B.2 identified in
12   paragraphs six and eight below. Id.
13         4.     On May 22, 2020, counsel for Postmates responded that Postmates “does
14   not agree to the stipulation or motion as drafted” but that Postmates did “not oppose the
15   sealing of personal identifying information such as the information redacted in the
16   samples” it had been sent. Id. ¶ 5.
17         5.     Good cause exists to redact personal identifying information, and courts
18   routinely allow (and in some instances order) parties to redact the type of information
19   contained on Exhibit A, see, e.g., Ehret v. Uber Technologies, Inc., No. 14-cv-00113-
20   EMC, 2015 WL 12977024, at *3 (N.D. Cal. Dec. 2, 2015) (finding that the “privacy
21   interests implicated” in a list with “the names and e-mail addresses of Uber employees
22   and Uber users . . . warrant redaction”); O'Connor v. Uber Technologies, Inc., No. C-
23   13-3826-EMC, 2015 WL 355496, at *3 (N.D. Cal. Jan. 27, 2015) (“[T]he Court will
24   order Uber to redact the relevant driver’s email address for privacy reasons, again noting
25   that the email address is not relevant to any of the issues in this litigation, nor would the
26   public have any real interest in its disclosure.”). Postman Decl. ¶ 7. And the Court has
27   already granted a similar motion to seal. ECF No. 29.
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                             DEFENDANTS’ MOTION TO FILE EXHIBITS UNDER SEAL
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 1         6.     A true and correct copy of an example demand for arbitration filed by a
 2   Defendant against Postmates with the American Arbitration Association is attached as
 3   Exhibit A.1 to this motion, and an unredacted version of the same example demand for
 4   arbitration is attached as Exhibit B.1 to the Postman Declaration (with the proposed
 5   redacted portions highlighted in yellow). Postman Decl. ¶ 7.
 6         7.     Certain Defendants intend to file several other similar example demands
 7   for arbitration. Each example demand would be redacted in substantially the same
 8   manner as Exhibit A.1. Id. ¶ 8.
 9         8.     A true and correct copy of an example declaration that certain Defendants
10   intend to file in support of their motion to compel arbitration is attached as Exhibit A.2
11   to this motion, and an unredacted version of the same example declaration is attached as
12   Exhibit B.2 to the Postman Declaration (with the proposed redacted portions highlighted
13   in yellow). Id. ¶ 9.
14         9.     Certain Defendants intend to file similar declarations in support of their
15   motion to compel Postmates to arbitration. Each declaration would be redacted in
16   substantially the same manner as Exhibit A.2. Id. ¶ 10.
17         10.    Defendants respectfully request that the Court enter an Order establishing
18   that Defendants may file the above identified exhibits and declarations under seal with
19   personal identifying information redacted
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                            DEFENDANTS’ MOTION TO FILE EXHIBITS UNDER SEAL
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 1   Dated: May 22, 2020                             Respectfully submitted,
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 3                                                   /s/ Warren Postman
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